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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
___________________________________

 UNITED STATES OF AMERICA,

       v.                                                    15-CR-143-V

 SONIA HERNANDEZ,                                            DECISION AND ORDER

            Defendant.
___________________________________


      1. On June 27, 2018, the defendant, Sonia Hernandez, pleaded guilty to Counts

3 and 4 of the second superseding indictment charging violations of Title 21, United

States Code, Section 846 (conspiracy to possess with intent to distribute and

conspiracy to distribute 1 kilogram or more of heroin, 5 kilograms or more of cocaine,

and 400 grams or more of fentanyl) (Count 3), and Title 18, United States Code, Section

1956(h) (conspiracy to commit money laundering) (Count 4). Docket Item 217.

      2. On June 27, 2018, the Honorable H. Kenneth Schroeder, Jr., United States

Magistrate Judge, filed a Report & Recommendation recommending that the

defendant’s plea of guilty be accepted and that the defendant be adjudged guilty.

Docket Item 556.

      3. This Court has not received objections to the Report & Recommendation in

accordance with Title 28, United States Code, Sections 636(b)(1) and Rule 59(b) of the

Federal Rules of Criminal Procedure, and the time to object now has expired.

      4. This Court has carefully reviewed de novo Judge Schroeder’s

Report & Recommendation (docket item 556), the plea agreement (docket item 552),

the second superseding indictment (docket item 217), a transcript of the digital FTR
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recording of the plea proceeding (docket item 596), and the applicable law. This Court

finds no legal or factual error in Judge Schroeder’s Report & Recommendation and

therefore adopts Judge Schroeder’s recommendation that the defendant’s plea of guilty

be accepted and that the defendant be adjudged guilty of Counts 3 and 4 of the second

superseding indictment.

         IT IS HEREBY ORDERED that this Court adopts Judge Schroeder’s June 27,

2018 Report & Recommendation, Docket Item 556, in its entirety, including the

authorities cited and the reasons given therein, and it is further

         ORDERED that the Court accepts the defendant’s plea of guilty and defers

acceptance of the plea agreement pursuant to Sentencing Guidelines Section 6B1.1(c),

and the defendant, Sonia Hernandez, is now adjudged guilty under Title 21, United

States Code, Section 846 and Title 18, United States Code, Section 1956(h).



         SO ORDERED.

Dated:         August 28, 2018
               Buffalo, New York



                                               s/Lawrence J. Vilardo
                                              LAWRENCE J. VILARDO
                                              UNITED STATES DISTRICT JUDGE




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